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Exhibit D to the Complaint.




                              U.S. Patent No. 8,671,195 v. Activision Publishing, Inc.
                                               Claims 1, 7, 9, 17, 19




                                                                                                  1
                Case 2:24-cv-00043-JRG-RSP Document 1-4 Filed 01/24/24 Page 2 of 87 PageID #: 87

Exhibit D to the Complaint.



   1. Claim Chart
     Claim                                                              Analysis
 [1.P] A digital Activision Publishing, Inc. (“Company”) makes, uses, sells and/or offers to sell a digital media communication
 media           protocol.
 communication
 protocol,       This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 comprising:
                 For example, the Company provides Call of Duty: Modern Warfare III, an internet-based game featuring Voice Chat.
                 Voice Chat enables players to communicate with their friends through a wireless connection. Furthermore, Voice Chat
                 includes a Voice Chat Moderation feature, wherein voice chats are sent to the Activision server via a wireless internet
                 connection (“digital media communication protocol”).




                  Source: https://www.callofduty.com/




                                                                                                                                           2
               Case 2:24-cv-00043-JRG-RSP Document 1-4 Filed 01/24/24 Page 3 of 87 PageID #: 88

Exhibit D to the Complaint.




                  Source: https://support.activision.com/modern-warfare-iii/articles/pc-system-requirements-for-modern-warfare-iii




                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 0:17

                                                                                                                                     3
               Case 2:24-cv-00043-JRG-RSP Document 1-4 Filed 01/24/24 Page 4 of 87 PageID #: 89

Exhibit D to the Complaint.




                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 0:28




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               Case 2:24-cv-00043-JRG-RSP Document 1-4 Filed 01/24/24 Page 5 of 87 PageID #: 90

Exhibit D to the Complaint.




                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 0:30




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               Case 2:24-cv-00043-JRG-RSP Document 1-4 Filed 01/24/24 Page 6 of 87 PageID #: 91

Exhibit D to the Complaint.




                  Source: https://support.activision.com/modern-warfare-iii/articles/connecting-to-modern-warfare-iii




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               Case 2:24-cv-00043-JRG-RSP Document 1-4 Filed 01/24/24 Page 7 of 87 PageID #: 92

Exhibit D to the Complaint.




                  Source: https://support.activision.com/modern-warfare-iii/articles/connecting-to-modern-warfare-iii




                  Source: https://support.activision.com/articles/call-of-duty-voice-chat-moderation




                                                                                                                        7
               Case 2:24-cv-00043-JRG-RSP Document 1-4 Filed 01/24/24 Page 8 of 87 PageID #: 93

Exhibit D to the Complaint.




                   Source: https://support.activision.com/articles/call-of-duty-voice-chat-moderation




                   Source: https://gamerant.com/call-of-duty-modern-warfare-3-ai-voice-chat-moderation/

                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Defendant.
 [1.1] at least    Company makes, uses, sells and/or offers to sell at least one media terminal disposed in an accessible relation to at
 one       media   least one interactive computer network.
 terminal
 disposed in an    This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 accessible
 relation to at    For example, Call of Duty: Modern Warfare is accessible on both PCs and laptops, with the game installed on the
 least       one   player's PC or laptop (“media terminal”). Players engage in communication with one another through the Voice Chat
 interactive       feature. When a player utilizes Voice Chat, their voice chats are transmitted from their PC or laptop to the Activision

                                                                                                                                             8
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Exhibit D to the Complaint.



 computer         server via a wireless internet connection (“interactive computer network”). Given that players need to connect to a
 network,         wireless internet connection for both playing the game and engaging in voice chat communication, it is apparent that
                  the player's PC or laptop maintains an accessible relationship with the interactive computer network.




                                                                                                                         media
                                                                                                                         terminal




                  Source:     https://support.activision.com/modern-warfare-iii/articles/pc-system-requirements-for-modern-warfare-iii
                  (annotated)




                                                                                                                                         9
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Exhibit D to the Complaint.




                                                                                                                          interactive
                                                                                                                          computer
                                                                                                                          network



                  Source: https://support.activision.com/modern-warfare-iii/articles/connecting-to-modern-warfare-iii (annotated)




                                                                                                                                        10
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Exhibit D to the Complaint.



                   Source: https://support.activision.com/modern-warfare-iii/articles/connecting-to-modern-warfare-iii

                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Defendant.
 [1.2] a wireless Company makes, uses, sells and/or offers to sell a wireless range structured to permit authorized access to said at least
 range             one interactive computer network.
 structured     to
 permit            This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 authorized
 access to         For example, the player's PC or laptop logs in to the router using its login credentials (“authorized access”) for
 said at least one establishing wireless connection to the wireless internet (“interactive computer network”). As wireless routers
 interactive       inherently possess a specified range, therefore, it is apparent to a person having ordinary skill in the art that a wireless
 computer          range is structured to permit authorized access to at least one interactive computer network.
 network,




                                                                                                                                              11
               Case 2:24-cv-00043-JRG-RSP Document 1-4 Filed 01/24/24 Page 12 of 87 PageID #: 97

Exhibit D to the Complaint.



                  Source: https://support.activision.com/modern-warfare-iii/articles/connecting-to-modern-warfare-iii




                  Source: https://support.activision.com/modern-warfare-iii/articles/connecting-to-modern-warfare-iii




                  Source:      https://www.callofduty.com/blog/2023/08/call-of-duty-modern-warfare-warzone-anti-toxicity-progress-
                  report

                                                                                                                                 12
               Case 2:24-cv-00043-JRG-RSP Document 1-4 Filed 01/24/24 Page 13 of 87 PageID #: 98

Exhibit D to the Complaint.




                   Source: https://gamerant.com/call-of-duty-modern-warfare-3-ai-voice-chat-moderation/

                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Defendant.
 [1.3] at least Company makes, uses, sells and/or offers to sell at least one media node disposable within said wireless range, wherein
 one media node said at least one media node is detectable by said at least one media terminal.
 disposable
 within       said This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 wireless
 range, wherein For example, the player establishes a connection to the wireless internet by logging into local wireless router.
 said at least one Subsequently, during gameplay, the player's PC or laptop (“media terminal”) transmits voice chats to the Activision
 media node is server (“media node”) through the established wireless connection. Given that wireless routers have a defined range
 detectable        and the player's PC or laptop connects to it before initiating an internet connection, it follows that the player's PC or
 by said at least laptop communicates with the Activision server. Therefore, upon information and belief, the server is disposed within
 one        media said wireless range and it is detectable by the player’s PC or laptop.
 terminal,




                                                                                                                                           13
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Exhibit D to the Complaint.




                  Source: https://support.activision.com/modern-warfare-iii/articles/connecting-to-modern-warfare-iii




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Exhibit D to the Complaint.



                  Source: https://support.activision.com/modern-warfare-iii/articles/connecting-to-modern-warfare-iii




                  Source:       https://www.callofduty.com/guides/getting-started/call-of-duty-modern-warfare-iii-play-guides-getting-
                  started-guide




                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 0:17




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Exhibit D to the Complaint.




                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 0:28




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               Case 2:24-cv-00043-JRG-RSP Document 1-4 Filed 01/24/24 Page 17 of 87 PageID #: 102

Exhibit D to the Complaint.




                   Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 0:30

                    Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                    supplement these contentions pursuant to production of such source code by the Defendant.
 [1.4] at least Company makes, uses, sells and/or offers to sell at least one digital media file initially disposed on at least one of said
 one       digital at least one media terminal or said at least one media node, said at least one media terminal being structured to detect
 media         file said at least one media node disposed within said wireless range.
 initially
 disposed on at This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 least one of said
 at least one For example, the player's PC or laptop (“media terminal”) sends voice chats (“digital media file”) to the server (“media
 media terminal node”) through the wireless connection. Therefore, upon information and belief, the digital media file is initially
 or said at least disposed on the sender’s platform (“media terminal”). It would be apparent to a person of ordinary skill in the art that

                                                                                                                                          17
              Case 2:24-cv-00043-JRG-RSP Document 1-4 Filed 01/24/24 Page 18 of 87 PageID #: 103

Exhibit D to the Complaint.



 one       media the sender’s platform (“media terminal”) is structured to detect at least one media node located within the wireless
 node, said at range.
 least one media
 terminal being
 structured    to
 detect said at
 least one media
 node disposed
 within      said
 wireless range,




                  Source: https://support.activision.com/articles/call-of-duty-voice-chat-moderation




                  Source: https://gamerant.com/call-of-duty-modern-warfare-3-ai-voice-chat-moderation/




                                                                                                                                    18
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Exhibit D to the Complaint.




                  Source:     https://support.activision.com/modern-warfare-iii/articles/pc-system-requirements-for-modern-warfare-iii
                  (annotated)




                                                                                                                                     19
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Exhibit D to the Complaint.




                  Source: https://support.activision.com/modern-warfare-iii/articles/connecting-to-modern-warfare-iii




                  Source:       https://www.callofduty.com/guides/getting-started/call-of-duty-modern-warfare-iii-play-guides-getting-
                  started-guide



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              Case 2:24-cv-00043-JRG-RSP Document 1-4 Filed 01/24/24 Page 21 of 87 PageID #: 106

Exhibit D to the Complaint.




                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 0:17 (annotated)




                                                                                                   21
              Case 2:24-cv-00043-JRG-RSP Document 1-4 Filed 01/24/24 Page 22 of 87 PageID #: 107

Exhibit D to the Complaint.




                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 0:30 (annotated)




                                                                                                   22
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Exhibit D to the Complaint.




                                                                                                                       digital
                                                                                                                       media file



                                                                                                                 media
                                                                                                                 terminal



                   Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 1:26 (annotated)

                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Defendant.
 [1.5]           a Company makes, uses, sells and/or offers to sell a communication link structured to dispose said at least one media
 communication terminal and said at least one media node in a communicative relation with one another via said at least one interactive
 link structured computer network.
 to dispose said
 at least one      This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 media terminal
 and said at least For example, once connected to the wireless internet, the player initiates the login process to their Activision account
 one media node using their PC or laptop (“media terminal”). This involves entering login credentials such as email and password
 in              a through the wireless connection (“one interactive computer network”). Consequently, this procedure establishes a
 communicative communication channel (“a communication link structured to dispose”) between the player's PC or laptop and the
 relation with Activision server (“media node”).



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Exhibit D to the Complaint.



 one another via
 said at least
 one interactive
 computer
 network,




                                                  sender login to
                                                  sender’s
                                                  platform




                   Source:
                   https://profile.callofduty.com/cod/login?redirectUrl=https%3A%2F%2Fwww.callofduty.com%2F&promo=jpt
                   (annotated)




                                                                                                                        24
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Exhibit D to the Complaint.




                                                                                                                         media
                                                                                                                         terminal




                  Source:     https://support.activision.com/modern-warfare-iii/articles/pc-system-requirements-for-modern-warfare-iii
                  (annotated)




                                                                                                                                     25
              Case 2:24-cv-00043-JRG-RSP Document 1-4 Filed 01/24/24 Page 26 of 87 PageID #: 111

Exhibit D to the Complaint.




                  Source: https://support.activision.com/modern-warfare-iii/articles/connecting-to-modern-warfare-iii




                  Source: https://gamerant.com/call-of-duty-modern-warfare-3-ai-voice-chat-moderation/

                  Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                  supplement these contentions pursuant to production of such source code by the Defendant.


                                                                                                                                       26
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Exhibit D to the Complaint.



 [1.6]        said   Company makes, uses, sells and/or offers to sell said communication link being initiated by said at least one media
 communication       terminal.
 link       being
 initiated by said   This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 at least one
 media terminal,     For example, the player’s PC or laptop initiates login process by inputting the login credentials such as email and
                     password. This process established the communication channel between the player’s PC or laptop and the server.




                                                          sender login to
                                                          sender’s
                                                          platform




                     Source:
                     https://profile.callofduty.com/cod/login?redirectUrl=https%3A%2F%2Fwww.callofduty.com%2F&promo=jpt
                     (annotated)



                                                                                                                                       27
              Case 2:24-cv-00043-JRG-RSP Document 1-4 Filed 01/24/24 Page 28 of 87 PageID #: 113

Exhibit D to the Complaint.




                                                                                                                         media
                                                                                                                         terminal




                  Source:     https://support.activision.com/modern-warfare-iii/articles/pc-system-requirements-for-modern-warfare-iii
                  (annotated)




                                                                                                                                     28
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Exhibit D to the Complaint.




                  Source: https://support.activision.com/modern-warfare-iii/articles/connecting-to-modern-warfare-iii

                  Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                  supplement these contentions pursuant to production of such source code by the Defendant.
 [1.7] said at Company makes, uses, sells and/or offers to said at least one media node and said at least one media terminal being
 least one media structured to transmit said at least one digital media file therebetween via said communication link.
 node and said at
 least one media This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 terminal being
 structured    to For example, in Voice Chat Moderation feature, the player’s PC or laptop ("media terminal") utilizes the established
 transmit said at communication channel to send (“transmit”) voice chats (“digital media file”) to the server (“media node”).
 least one
 digital media
 file

                                                                                                                                       29
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Exhibit D to the Complaint.



 therebetween
 via        said
 communication
 link, and                                                                                                                media
                                                                                                                          terminal




                   Source:     https://support.activision.com/modern-warfare-iii/articles/pc-system-requirements-for-modern-warfare-iii
                   (annotated)




                                                                                                                                      30
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Exhibit D to the Complaint.




                  Source: https://support.activision.com/modern-warfare-iii/articles/connecting-to-modern-warfare-iii




                  Source:       https://www.callofduty.com/guides/getting-started/call-of-duty-modern-warfare-iii-play-guides-getting-
                  started-guide



                                                                                                                                     31
              Case 2:24-cv-00043-JRG-RSP Document 1-4 Filed 01/24/24 Page 32 of 87 PageID #: 117

Exhibit D to the Complaint.




                                                                                            media terminal




                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 0:17 (annotated)




                                                                                                             32
              Case 2:24-cv-00043-JRG-RSP Document 1-4 Filed 01/24/24 Page 33 of 87 PageID #: 118

Exhibit D to the Complaint.




                                                                                                   digital
                                                                                                   media file




                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 0:30 (annotated)




                                                                                                                33
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Exhibit D to the Complaint.




                                                                                                             digital
                                                                                                             media file



                                                                                                       media
                                                                                                       terminal



                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 1:26 (annotated)




                  Source: https://support.activision.com/articles/call-of-duty-voice-chat-moderation




                                                                                                                          34
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Exhibit D to the Complaint.




                   Source: https://support.activision.com/articles/call-of-duty-voice-chat-moderation




                   Source: https://gamerant.com/call-of-duty-modern-warfare-3-ai-voice-chat-moderation/

                 Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                 supplement these contentions pursuant to production of such source code by the Defendant.
 [1.8]      said Company makes, uses, sells and/or offers to sell said communication link is structured to bypass at least one media
 communication terminal security measure.
 link         is
 structured   to This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 bypass at least
 one             For example, the player’s PC or laptop and the server do not require users to input the email and the password ("security
 media terminal measure") every time they communicate. Instead, the email and password input are necessary during the initial
 security        connection process, and thereafter, the devices automatically exchange data without requiring users to re-enter the
 measure.

                                                                                                                                         35
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                  email and password ("bypassing the security measure"). Therefore, upon information and belief, the communication
                  link is structured to bypass at least one media terminal security measure.




                                                   media terminal
                                                   security
                                                   measure




                  Source:
                  https://profile.callofduty.com/cod/login?redirectUrl=https%3A%2F%2Fwww.callofduty.com%2F&promo=jpt
                  (annotated)



                                                                                                                                 36
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Exhibit D to the Complaint.




                  Source: https://support.activision.com/modern-warfare-iii/articles/connecting-to-modern-warfare-iii




                  Source:       https://www.callofduty.com/guides/getting-started/call-of-duty-modern-warfare-iii-play-guides-getting-
                  started-guide



                                                                                                                                     37
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Exhibit D to the Complaint.




                                                                                                                   media
                                                                                                                   terminal



                   Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 1:26 (annotated)

                    Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                    supplement these contentions pursuant to production of such source code by the Defendant.
 [6] The digital Company makes, uses, sells and/or offers to sell said digital media file is initially disposed on said at least one media
 media              terminal.
 communication
 protocol recited This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 in claim 1
 wherein            For example, the player’s PC or laptop (“media terminal”) sends voice chats (“digital media file”) to the server and the
 said       digital server stores the voice chats. Therefore, upon information and belief, the digital media file is initially disposed on the
 media file is player’s PC or laptop.
 initially
 disposed       on
 said at least one
 media terminal.

                                                                                                                                             38
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Exhibit D to the Complaint.




                  Source: https://support.activision.com/articles/call-of-duty-voice-chat-moderation




                  Source: https://gamerant.com/call-of-duty-modern-warfare-3-ai-voice-chat-moderation/




                  Source:       https://www.callofduty.com/guides/getting-started/call-of-duty-modern-warfare-iii-play-guides-getting-
                  started-guide


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Exhibit D to the Complaint.




                                                                                            media terminal




                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 0:17 (annotated)




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              Case 2:24-cv-00043-JRG-RSP Document 1-4 Filed 01/24/24 Page 41 of 87 PageID #: 126

Exhibit D to the Complaint.




                                                                                                   media file




                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 0:30 (annotated)




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                                                                                                  media file




                                                                                            media
                                                                                            terminal



                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 1:26 (annotated)




                                                                                                               42
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Exhibit D to the Complaint.




                                                                                                            display digital
                                                                                                            media file


                                                                                                                media
                                                                                                                terminal



                   Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 1:26 (annotated)

                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Defendant.
 [7] The digital Company makes, uses, sells and/or offers to sell said at least one media terminal is structured to transmit said at least
 media             one digital media file to said at least one media node via said communication link.
 communication
 protocol recited This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 in claim 6
 wherein           For example, the player’s PC or laptop ("media terminal") utilizes the established communication channel to send
 said at least one (“transmit”) voice chats (“digital media file”) to the server (“media node”).
 media terminal
 is structured to
 transmit said at
 least one digital
 media file to

                                                                                                                                         43
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Exhibit D to the Complaint.



 said at least one
 media node via
 said
 communication                                                                                                              media
 link.                                                                                                                      terminal




                     Source:     https://support.activision.com/modern-warfare-iii/articles/pc-system-requirements-for-modern-warfare-iii
                     (annotated)




                     Source:       https://www.callofduty.com/guides/getting-started/call-of-duty-modern-warfare-iii-play-guides-getting-
                     started-guide




                                                                                                                                        44
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Exhibit D to the Complaint.




                                                                                            media terminal




                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 0:17 (annotated)




                                                                                                             45
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Exhibit D to the Complaint.




                                                                                                   digital
                                                                                                   media file




                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 0:30 (annotated)




                                                                                                                46
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Exhibit D to the Complaint.




                                                                                                             digital
                                                                                                             media file



                                                                                                       media
                                                                                                       terminal



                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 1:26 (annotated)




                  Source: https://support.activision.com/articles/call-of-duty-voice-chat-moderation




                                                                                                                          47
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Exhibit D to the Complaint.




                   Source: https://support.activision.com/articles/call-of-duty-voice-chat-moderation




                   Source: https://gamerant.com/call-of-duty-modern-warfare-3-ai-voice-chat-moderation/

                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Defendant.
 [9] The digital Activision Publishing, Inc. (“Company”) makes, uses, sells and/or offers to sell said at least one media node is
 media             structured to store said at least one digital media file.
 communication
 protocol recited This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 in claim 6
 wherein           For example, the server (“media node”) store voice chats (“digital media file”) received from the player’s PC or laptop
 said at least one using a wireless connection.
 media node is
 structured     to

                                                                                                                                         48
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 store said at
 least one digital
 media file.




                     Source: https://support.activision.com/articles/call-of-duty-voice-chat-moderation




                     Source: https://gamerant.com/call-of-duty-modern-warfare-3-ai-voice-chat-moderation/

                  Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                  supplement these contentions pursuant to production of such source code by the Defendant.
 [17.P] A digital Activision Publishing, Inc. (“Company”) makes, uses, sells and/or offers to sell a digital media communication
 media            protocol.
 communication
 protocol,        This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 comprising
                  For example, the Company provides Call of Duty: Modern Warfare III, an internet-based game featuring Voice Chat.
                  Voice Chat enables players to communicate with their friends through a wireless connection. Furthermore, Voice Chat
                  includes a Voice Chat Moderation feature, wherein voice chats are sent to the Activision server via a wireless internet
                  connection (“digital media communication protocol”).

                                                                                                                                        49
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                  Source: https://www.callofduty.com/




                  Source: https://support.activision.com/modern-warfare-iii/articles/pc-system-requirements-for-modern-warfare-iii



                                                                                                                                     50
              Case 2:24-cv-00043-JRG-RSP Document 1-4 Filed 01/24/24 Page 51 of 87 PageID #: 136

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                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 0:17




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              Case 2:24-cv-00043-JRG-RSP Document 1-4 Filed 01/24/24 Page 52 of 87 PageID #: 137

Exhibit D to the Complaint.




                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 0:28




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              Case 2:24-cv-00043-JRG-RSP Document 1-4 Filed 01/24/24 Page 53 of 87 PageID #: 138

Exhibit D to the Complaint.




                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 0:30




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              Case 2:24-cv-00043-JRG-RSP Document 1-4 Filed 01/24/24 Page 54 of 87 PageID #: 139

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                  Source: https://support.activision.com/modern-warfare-iii/articles/connecting-to-modern-warfare-iii




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Exhibit D to the Complaint.



                  Source: https://support.activision.com/modern-warfare-iii/articles/connecting-to-modern-warfare-iii




                  Source: https://support.activision.com/articles/call-of-duty-voice-chat-moderation




                  Source: https://support.activision.com/articles/call-of-duty-voice-chat-moderation




                                                                                                                        55
              Case 2:24-cv-00043-JRG-RSP Document 1-4 Filed 01/24/24 Page 56 of 87 PageID #: 141

Exhibit D to the Complaint.




                   Source: https://gamerant.com/call-of-duty-modern-warfare-3-ai-voice-chat-moderation/

                  Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                  supplement these contentions pursuant to production of such source code by the Defendant.
 [17.1] at least Company makes, uses, sells and/or offers to sell at least one media terminal and at least one media node disposed in
 one       media an accessible relation with at least one inter active computer network.
 terminal and at
 least one media This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 node
 disposed in an For example, Call of Duty: Modern Warfare is accessible on both PCs and laptops, with the game installed on the
 accessible       player's personal computer or laptop (“media terminal”). Players engage in communication with one another through
 relation with at the Voice Chat feature. When a player utilizes Voice Chat, their voice chats are transmitted from their PC or laptop to
 least one inter  the Activision server (“media node”) via a wireless internet connection (“interactive computer network”). Given that
 active           players need to connect to a wireless internet connection for both playing the game and engaging in voice chat
 computer         communication, it is apparent that the player's PC or laptop and the Activision server are disposed in an accessible
 network,         relation with at least one inter active computer network.




                                                                                                                                        56
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                                                                                                                         media
                                                                                                                         terminal




                  Source:     https://support.activision.com/modern-warfare-iii/articles/pc-system-requirements-for-modern-warfare-iii
                  (annotated)




                                                                                                                                     57
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                                                                                                                          interactive
                                                                                                                          computer
                                                                                                                          network



                  Source: https://support.activision.com/modern-warfare-iii/articles/connecting-to-modern-warfare-iii (annotated)




                                                                                                                                        58
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                   Source: https://support.activision.com/modern-warfare-iii/articles/connecting-to-modern-warfare-iii

                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Defendant.
 [17.2] at least Company makes, uses, sells and/or offers to sell at least one digital media file initially disposed on at least one of said
 one       digital media terminal or said media node, said at least one media terminal structured to detect said at least one media node.
 media        file
 initially         This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 disposed on at
 least             For example, the player's PC or laptop (“media terminal”) sends voice chats (“digital media file”) to the server (“media
 one of said node”) through the wireless connection. Therefore, upon information and belief, the digital media file is initially
 media terminal disposed on the sender’s platform (“media terminal”). It would be apparent to a person of ordinary skill in the art that
 or said media the sender’s platform (“media terminal”) is structured to detect at least one media node.
 node, said at
 least one media
 terminal
 structured     to
 detect said at
 least
 one       media
 node,




                   Source: https://support.activision.com/articles/call-of-duty-voice-chat-moderation




                                                                                                                                           59
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Exhibit D to the Complaint.




                  Source: https://gamerant.com/call-of-duty-modern-warfare-3-ai-voice-chat-moderation/




                                                                                                                         media
                                                                                                                         terminal




                  Source:     https://support.activision.com/modern-warfare-iii/articles/pc-system-requirements-for-modern-warfare-iii
                  (annotated)




                                                                                                                                     60
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Exhibit D to the Complaint.




                  Source: https://support.activision.com/modern-warfare-iii/articles/connecting-to-modern-warfare-iii




                  Source:       https://www.callofduty.com/guides/getting-started/call-of-duty-modern-warfare-iii-play-guides-getting-
                  started-guide



                                                                                                                                     61
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Exhibit D to the Complaint.




                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 0:17 (annotated)




                                                                                                   62
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Exhibit D to the Complaint.




                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 0:30 (annotated)




                                                                                                   63
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                                                                                                                       digital
                                                                                                                       media file



                                                                                                                 media
                                                                                                                 terminal



                   Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 1:26 (annotated)

                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Defendant.
 [17.3]          a Company makes, uses, sells and/or offers to sell a communication link structured to dispose said at least one media
 communication terminal and said at least one media node in a communicative relation with one another via said inter active computer
 link structured network.
 to dispose said
 at least one      This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 media terminal
 and said at least For example, once connected to the wireless internet, the player initiates the login process to their Activision account
 one media node using their PC or laptop (“media terminal”). This involves entering login credentials such as email and password
 in a              through the wireless connection (“one interactive computer network”). Consequently, this procedure establishes a
 communicative communication channel (“a communication link structured to dispose”) between the player's PC or laptop and the
 relation with Activision server (“media node”).



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 one another via
 said inter
 active
 computer
 network,




                                                  sender login to
                                                  sender’s
                                                  platform




                   Source:
                   https://profile.callofduty.com/cod/login?redirectUrl=https%3A%2F%2Fwww.callofduty.com%2F&promo=jpt
                   (annotated)




                                                                                                                        65
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                                                                                                                         media
                                                                                                                         terminal




                  Source:     https://support.activision.com/modern-warfare-iii/articles/pc-system-requirements-for-modern-warfare-iii
                  (annotated)




                                                                                                                                     66
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                  Source: https://support.activision.com/modern-warfare-iii/articles/connecting-to-modern-warfare-iii




                  Source: https://gamerant.com/call-of-duty-modern-warfare-3-ai-voice-chat-moderation/

                  Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                  supplement these contentions pursuant to production of such source code by the Defendant.


                                                                                                                                       67
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 [17.4]       said   Company makes, uses, sells and/or offers to sell said communication link being initiated by said at least one media
 communication       terminal.
 link       being
 initiated by said   This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 at least one
 media terminal,     For example, the player’s PC or laptop initiates login process by inputting the login credentials such as email and
                     password. This process established the communication channel between the player’s PC or laptop and the server.




                                                          sender login to
                                                          sender’s
                                                          platform




                     Source:
                     https://profile.callofduty.com/cod/login?redirectUrl=https%3A%2F%2Fwww.callofduty.com%2F&promo=jpt
                     (annotated)



                                                                                                                                       68
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                                                                                                                         media
                                                                                                                         terminal




                  Source:     https://support.activision.com/modern-warfare-iii/articles/pc-system-requirements-for-modern-warfare-iii
                  (annotated)




                                                                                                                                     69
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                   Source: https://support.activision.com/modern-warfare-iii/articles/connecting-to-modern-warfare-iii

                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Defendant.
 [17.5] said at Company makes, uses, sells and/or offers to sell said at least one media node and said at least one media terminal
 least one media structured to transmit said at least one digital media file therebetween via said communication link.
 node and said at
 least one media This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 terminal
 structured     to For example, in Voice Chat Moderation feature, the player’s PC or laptop ("media terminal") utilizes the established
 transmit said at communication channel to send (“transmit”) voice chats (“digital media file”) to the server (“media node”).
 least one digital
 media        file
 therebetween

                                                                                                                                        70
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 via      said
 communication
 link,
 wherein                                                                                                                 media
                                                                                                                         terminal




                  Source:     https://support.activision.com/modern-warfare-iii/articles/pc-system-requirements-for-modern-warfare-iii
                  (annotated)




                                                                                                                                     71
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                  Source: https://support.activision.com/modern-warfare-iii/articles/connecting-to-modern-warfare-iii




                  Source:       https://www.callofduty.com/guides/getting-started/call-of-duty-modern-warfare-iii-play-guides-getting-
                  started-guide



                                                                                                                                     72
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Exhibit D to the Complaint.




                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 0:17 (annotated)




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Exhibit D to the Complaint.




                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 0:30 (annotated)




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Exhibit D to the Complaint.




                                                                                                             digital
                                                                                                             media file



                                                                                                       media
                                                                                                       terminal



                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 1:26 (annotated)




                  Source: https://support.activision.com/articles/call-of-duty-voice-chat-moderation




                                                                                                                          75
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                   Source: https://support.activision.com/articles/call-of-duty-voice-chat-moderation




                   Source: https://gamerant.com/call-of-duty-modern-warfare-3-ai-voice-chat-moderation/

                 Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                 supplement these contentions pursuant to production of such source code by the Defendant.
 [17.6]     said Company makes, uses, sells and/or offers to sell said communication link is structured to bypass at least one media
 communication terminal security measure.
 link         is
 structured   to This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 bypass at least
 one             For example, the player’s PC or laptop and the server do not require users to input the email and the password ("security
 media terminal measure") every time they communicate. Instead, the email and password input are necessary during the initial
 security        connection process, and thereafter, the devices automatically exchange data without requiring users to re-enter the
 measure.

                                                                                                                                         76
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                  email and password ("bypass at least one media terminal security measure"). Therefore, upon information and belief,
                  the communication link is structured to bypass at least one media terminal security measure.




                                                    media terminal
                                                    security
                                                    measure




                  Source:
                  https://profile.callofduty.com/cod/login?redirectUrl=https%3A%2F%2Fwww.callofduty.com%2F&promo=jpt
                  (annotated)



                                                                                                                                    77
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                  Source: https://support.activision.com/modern-warfare-iii/articles/connecting-to-modern-warfare-iii




                  Source:       https://www.callofduty.com/guides/getting-started/call-of-duty-modern-warfare-iii-play-guides-getting-
                  started-guide



                                                                                                                                     78
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                                                                                                                 media
                                                                                                                 terminal



                   Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 1:26 (annotated)

                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Defendant.
 [18] The digital Company makes, uses, sells and/or offers to sell a wireless range structured to permit authorized access to said at least
 media             one interactive computer network.
 communication
 protocol recited This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 in claim 17
 further           For example, the player's personal computer or laptop logs in to the router using its login credentials (“authorized
 comprising a access”) for establishing wireless connection to the wireless internet (“interactive computer network”). As wireless
 wireless range routers inherently possess a specified range, therefore, it is apparent to a person having ordinary skill in the art that a
 structured     to wireless range is structured to permit authorized access to at least one interactive computer network.
 permit
 authorized
 access to said at

                                                                                                                                          79
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 least       one
 interactive
 computer
 network.




                   Source: https://support.activision.com/modern-warfare-iii/articles/connecting-to-modern-warfare-iii




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                  Source: https://support.activision.com/modern-warfare-iii/articles/connecting-to-modern-warfare-iii




                  Source:       https://www.callofduty.com/blog/2023/08/call-of-duty-modern-warfare-warzone-anti-toxicity-progress-
                  report




                  Source: https://gamerant.com/call-of-duty-modern-warfare-3-ai-voice-chat-moderation/

                  Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                  supplement these contentions pursuant to production of such source code by the Defendant.
 [19] The digital Company makes, uses, sells and/or offers to sell said at least one media node is disposable within said wireless range
 media            and detectable by said at least one media terminal.

                                                                                                                                       81
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 communication
 protocol recited    This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 in
 claim          18   For example, the player establishes a connection to the wireless internet by logging into any local wireless router.
 wherein             Subsequently, during gameplay, the player's PC or laptop (“media terminal”) transmits voice chats to the Activision
 said at least one   server (“media node”) through the established wireless connection. Given that wireless routers have a defined range
 media node is       and the player's device connects to it before initiating an internet connection, it follows that the player's PC or laptop
 disposable          communicates with the Activision server. Therefore, upon information and belief, the server is disposed within said
 within said         wireless range and it is detectable by the player’s PC or laptop.
 wireless range
 and detectable
 by said at least
 one media
 terminal.




                     Source: https://support.activision.com/modern-warfare-iii/articles/connecting-to-modern-warfare-iii




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                  Source: https://support.activision.com/modern-warfare-iii/articles/connecting-to-modern-warfare-iii




                  Source:       https://www.callofduty.com/guides/getting-started/call-of-duty-modern-warfare-iii-play-guides-getting-
                  started-guide




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                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 0:17




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Exhibit D to the Complaint.




                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 0:28




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Exhibit D to the Complaint.




                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 0:30

                  Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                  supplement these contentions pursuant to production of such source code by the Defendant.




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Exhibit D to the Complaint.



   2. List of References
   1. https://www.callofduty.com/, last accessed on December 22, 2023.
   2. https://support.activision.com/modern-warfare-iii/articles/pc-system-requirements-for-modern-warfare-iii, last accessed on
      December 22, 2023.
   3. https://support.activision.com/modern-warfare-iii/articles/connecting-to-modern-warfare-iii, last accessed on December 22, 2023.
   4. https://www.callofduty.com/guides/getting-started/call-of-duty-modern-warfare-iii-play-guides-getting-started-guide, last accessed
      on December 22, 2023.
   5. https://support.activision.com/articles/call-of-duty-voice-chat-moderation, last accessed on December 22, 2023.
   6. https://profile.callofduty.com/cod/login?redirectUrl=https%3A%2F%2Fwww.callofduty.com%2F&promo=jpt, last accessed on
      December 22, 2023.
   7. https://www.youtube.com/watch?v=FQNQUfAFVuE, last accessed on December 22, 2023.




                                                                                                                                     87
